              Case 19-11549-JDW                       Doc 18          Filed 06/23/19 Entered 06/23/19 21:43:12                                     Desc Main
                                                                      Document     Page 1 of 3
 Fill in this information to identify your case:

 Debtor 1                   Dewayne Jones
                            First Name                      Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF MISSISSIPPI

 Case number           19-11549
 (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Bridgecrest                              Describe the property that secures the claim:                 $12,005.00                 $6,500.00           $5,505.00
         Creditor's Name                          2011 Hyundai Sonata
                                                  driven by debtor's 16 year old
         7300 East Hampton Ave                    daughter
                                                  As of the date you file, the claim is: Check all that
         #101                                     apply.
         Mesa, AZ 85209                               Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)
       community debt

 Date debt was incurred          12/31/2015                Last 4 digits of account number


 2.2     Conns Appliances, Inc.                   Describe the property that secures the claim:                   $6,016.00                $2,500.00           $3,516.00
         Creditor's Name                          Washer/Dryer, Stove, Desk and 50
                                                  inch television
                                                  As of the date you file, the claim is: Check all that
         Post Office Box 2358                     apply.
         Beaumont, TX 77704                           Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)
       community debt

 Date debt was incurred          7/15/2018                 Last 4 digits of account number


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 Debtor 1 Dewayne Jones                                                                                       Case number (if known)   19-11549
               First Name                  Middle Name                      Last Name



         Credit Acceptance
 2.3                                                                                                                 $27,070.00          $23,350.00       $3,720.00
         Corporation                                Describe the property that secures the claim:
         Creditor's Name                            2012 Toyota Tundra

         25505 W 12 Mile Road,
                                                    As of the date you file, the claim is: Check all that
         Suite 3000                                 apply.
         Southfield, MI 48034                            Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          2/15/2019                   Last 4 digits of account number


 2.4     Freedom Mortgage                           Describe the property that secures the claim:                    $56,350.00          $53,010.00       $3,340.00
         Creditor's Name                            140 Pinewood Drive Holly Springs,
                                                    MS 38635 Marshall County
         PO Box 37628
                                                    As of the date you file, the claim is: Check all that
         Philadelphia, PA                           apply.
         19101-0628                                      Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number


         Navy Federal Credit
 2.5                                                                                                                 $20,697.00          $13,625.00       $7,072.00
         Union                                      Describe the property that secures the claim:
         Creditor's Name                            2012 Lexus ES350

                                                    As of the date you file, the claim is: Check all that
         Post Office Box 3302                       apply.
         Merrifield, VA 22119-3302                       Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          04/15/2018                  Last 4 digits of account number




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 2 of 3
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 Debtor 1 Dewayne Jones                                                                                       Case number (if known)        19-11549
               First Name                  Middle Name                      Last Name


 2.6     Nuvell Credit                              Describe the property that secures the claim:                    $18,326.19                   $3,000.00         $15,326.19
         Creditor's Name                            2004 Chevrolet Impala

                                                    As of the date you file, the claim is: Check all that
         PO Box 380901                              apply.
         Bloomington, MN 55438                           Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          05/08/2004                  Last 4 digits of account number         8053


   Add the dollar value of your entries in Column A on this page. Write that number here:                                    $140,464.19
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                   $140,464.19

 Part 2:     List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.3
          Corporation Service Company
          7716 Old Canton Rd, Ste C                                                                   Last 4 digits of account number
          Madison, MS 39110

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.1
          Corporation Service Company
          7716 Old Canton Rd, Ste C                                                                   Last 4 digits of account number
          Madison, MS 39110

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.4
          CT Corporation System
          Registerd Agent for Freedom Mortgage                                                        Last 4 digits of account number
          645 LAKELAND EAST DR STE 101
          Flowood, MS 39232

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.2
          Ct Corporation System
          645 Lakeland East Dr Ste. 101                                                               Last 4 digits of account number
          Flowood, MS 39232-9099

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.5
          National Corporate Research Ltd
          248 East Capitol St, Ste 840                                                                Last 4 digits of account number
          Jackson, MS 39201




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